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            IN THE UNITED STATES DISTRICT COURT FOR THE
         NORTHERN DISTRICT OF NEW YORK : SYRACUSE DIVISION


                                      :
CNY FAIR HOUSING, INC, THE FAIR HOUSING
                                      :
PARTNERSHIP OF GREATER PITTSBURGH,    :
INC., HOUSING RESEARCH & ADVOCACY     :
CENTER, INC. d/b/a FAIR HOUSING CENTER:
FOR RIGHTS AND RESEARCH, INC.; HOUSING:
OPPORTUNITIES MADE EQUAL OF BUFFALO,  :
INC.; HOUSING OPPORTUNITIES MADE      :
EQUAL OF CINCINNATI, INC.; PHYLLIS    :
BARTOSZEWSKI, JOYCE WILCOX AS THE     :
ADMINISTRATOR AND REPRESENTATIVE OF   :
THE ESTATE OF LOIS HARTER and DEANNA  :
TOWN,                                 :
                             Plaintiffs,
                                      :
                      v.              : Civil Action No.
                                      : 5:21-cv-00361-BKS-ML
WELLCLOVER HOLDINGS LLC; CLOVER       :
MANAGEMENT, INC.; CLOVER COMMUNITIES :
CAMILLUS LLC; CLOVER COMMUNITIES      :
SALINA LLC; CLOVER COMMUNITIES NEW    :
HARTFORD, LLC; CLOVER COMMUNITIES     :
CLAY LLC; CLOVER COMMUNITIES JOHNSON :
CITY, LLC; CLOVER COMMUNITIES         :
SOUTHWESTERN LLC; CLOVER              :
COMMUNITIES SWEETHOME, LLC; and       :
LACKAWANNA SENIOR HOUSING LP.         :
                                      :
                          Defendants. :
                                      :

     NOTICE OF CROSS-MOTION FOR PARTIAL SUMMARY JUDGMENT
                      PURSUANT TO RULE 56

MOTION BY:                       Defendants WellClover Holdings LLC, Clover
                                 Management, Inc., Communities Camillus LLC,
                                 Clover Communities Salina LLC, Clover
                                 Communities New Hartford LLC, Clover
                                 Communities Clay LLC, Clover Communities
                                 Johnson City, LLC, Clover Communities
                                 Southwestern LLC, Clover Communities
                                 Sweethome, LLC, and Lackawanna Senior Housing
                                 LP
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RELIEF SOUGHT:                   An Order:

                                 Granting Defendants’ cross-motion for summary
                                 judgment dismissing counts I-III of the complaint:
                                 1) with respect to rental pricing, under any theory,
                                 as a matter of law, 2) with respect to any property
                                 that is not owned or managed by and defendant, or
                                 any property that is not identified in the complaint,
                                 and 3) with respect to New Hartford Senior
                                 Apartments and Reynolds Pointe Senior Apartments
                                 as to parking related claims for failure to establish a
                                 prima facie case;

                                 Denying Plaintiffs’ motion for summary judgment
                                 in its entirety, with prejudice, and disregarding
                                 Plaintiffs proffered Exhibits 6, 12, 24, 42, 55 and
                                 portions of Exhibit 3 as inadmissible; and

                                 Awarding such other and further relief as the Court
                                 deems just and proper.


GROUNDS:                         Federal Rules of Civil Procedure Rule 56

WHEN RETURNABLE:                 ______________, 2024, at _______ a.m./p.m.


WHERE RETURNABLE:                Hon. Brenda K. Sannes


SUPPORTING PAPERS:               Declaration of Jeffrey A. Goldshine, dated January
                                 19, 2024, with exhibit; Declaration of C. Paul
                                 Wazzan, Ph.D., dated January 19, 2024, with
                                 exhibits; Declaration of Geoffrey Maze, C.P.A.,
                                 dated January 19, 2024, with exhibits; Declaration
                                 of Andrew Cohen, dated January 19, 2024, with
                                 exhibits; Declaration of Emily Brady, dated January
                                 22, 2024, with exhibits; Declaration of Elizabeth A.
                                 Kraengel, Esq., dated January 22, 2024, with
                                 exhibits; Response to Plaintiffs’ Statement of
                                 Material Facts and Defendants’ Statement of
                                 Material Facts, dated January 22, 2024; and
                                 Memorandum of Law, dated January 22, 2024.




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ORAL ARGUMENT:                      Defendants request oral argument on the cross-
                                    motion. Defendants’ counsel can identify the key
                                    legal arguments and relevant aspects of the
                                    substantial record in this case. If the request is
                                    granted, Elizabeth A. Kraengel will argue the cross-
                                    motion on behalf of Defendants.


                             Respectfully submitted,

Dated: Buffalo, New York
       January 22, 2024


                             DUKE HOLZMAN PHOTIADIS GRESENS LLP


                                   s/ Elizabeth A. Kraengel
                             By:___________________________________
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                                    *Admitted Pro Hac Vice




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                                CERTIFICATE OF SERVICE

      I hereby certify that on January 22, 2024, I electronically filed the Notice of Cross-
Motion with supporting papers in this matter, with the Clerk of the District Court using its
CM/ECF system and thereby provided service on the following CM/ECF participants:

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Dated: January 22, 2024                s/ Elizabeth A. Kraengel
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